537 U.S. 1102
    FAISONv.MERRILL LYNCH, PIERCE, FENNER &amp; SMITH INC. ET AL.
    No. 02-6955.
    Supreme Court of United States.
    January 13, 2003.
    
      1
      CERTIORARI TO THE UNITED STATES COURT OF APPEALS FOR THE ELEVENTH CIRCUIT.
    
    
      2
      C. A. 11th Cir. Motion of petitioner for leave to proceed in forma pauperis denied. Petitioners are allowed until February 3, 2003, within which to pay the docketing fees required by Rule 38(a) and to submit petitions in compliance with Rule 33.1 of the Rules of this Court.
    
    